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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 MCALLEN DIVISION

    UNITED STATES OF AMERICA           §
                                       §
                     Plaintiff,        §
                                       §
 v.                                    §        CASE NO. 7:20-CV-248
                                       §
 0.892 ACRES OF LAND, MORE OR          §
 LESS, SITUATE IN HIDALGO COUNTY, §
 STATE OF TEXAS; AND LAS MILPAS,       §
 L.L.C.,                               §
                                       §
                    Defendants.        §
____________________________________________________________________________

                           JOINT STATUS REPORT
____________________________________________________________________________

        COMES NOW, Plaintiff, the United States of America and Defendant, Las Milpas, LLC,

and file this joint status report in accordance to update the Court on the status of this case.

                                       PROCEDURAL HISTORY

     1. This is a condemnation case involving land in Hidalgo County, Texas, over which the

        United States filed an unopposed motion for possession on October 29, 2020. On

        November 3, 2020, this Court granted the United States possession of the Subject Property

        as part of the border fence/infrastructure project.

     2. On August 31, 2020, the United States filed the Notice 1, Complaint 2 and Declaration of

        Taking 3 for the condemnation of a fee simple interest in real property identified as Tract

        RGV-WSL-1003.

     3. The Declaration of Taking acquired 0.892 acres of fee and identified Las Milpas, LLC,



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        Texas National Bank and Pablo “Paul” Villareal, Jr., as potentially interested parties.

    4. On August 31, 2020, the Court set an initial pretrial conference for November 4, 2020 4.

    5. On September 10, 2020, the United States deposited $28,158.00 into the Court’s Registry

        as estimated just compensation for Tract RGV-WSL-1003 5. Additionally, On September

        8, 2020, the United Sates filed its Clerk’s Receipt with the Court. 6 As a result of this

        filing, the United States obtained title in fee to the Subject Property. Upon deposit of said

        amount, title to the interest and estate as more fully described in the Complaint and to the

        extent set forth in the Declaration of Taking, vested in the name of the United States of

        America by operation of law as to Tract RGV-WSL-1003.

    6. On October 8, 2020, the United Stated obtained and filed a waiver of service from Hidalgo

        County by and through its agent Pablo “Paul” Villarreal, Jr., RTA, Tax

        Assessor/Collector. 7

    7. On October 23, 2020, the United States filed a Joint Discovery/Case Management Plan

        with the Court. 8

    8. On October 26, 2020, the United States filed a notice of disclaimer by Texas National

        Bank. 9 On November 3, 2020, this Court dismissed Texas National Bank from the instant

        case. 10

    9. On October 29, 2020, the United States filed an Unopposed Motion for Possession with

        Proposed Order 11. On November 3, 2020, this court granted said motion. 12



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  Dkt No. 5.
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  Id.
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  Dkt No. 9
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  Dkt No. 11.
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  Dkt. 12
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     10. On January 26, 2021, the parties filed a Joint Motion to Extend Time 13. This Court

        granted said motion on January 27, 2021.14

     11. On June 3, 2021, the Defendant filed its Unopposed Motion to Stay the Condemnation

        Proceedings 15. This Court granted said motion on June 7, 2021, but ordered the case

        remain set for a Motions Hearing on September 17, 2021. 16

     12. On September 17, 2021 at 9:30 am, the parties are scheduled to appear before this Court

        for a Motions Hearing.

                                        STATUS UPDATE

     13. Revestment is not an option for the Subject Property as the United States already

        commenced construction on said property.

     14. The current posture and status of this case necessitates a new scheduling order for the

        parties to comply with and is what both parties anticipate discussing before the court at

        the September 17, 2021 hearing.

     15. The parties continue to discuss settlement, however, at this time it is not a possibility as

        the parties have not been able to agree on just compensation.

                                                       Respectfully submitted,

                                                       JENNIFER B. LOWERY
                                                       Acting United States Attorney
                                                       Southern District of Texas

                                               By:     s/ Alexander N. DerGarabedian__________
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                                CERTIFICATE OF SERVICE

        I certify that on September 14, 2021, a copy of the foregoing was electronically filed on

the CM/ECF system, which will automatically serve a Notice of Electronic Filing on counsel of

record. I further certify that I spoke to the county tax assessor collector and he has no opposition

to this joint status report.

                                              By:     s/ Alexander N. DerGarabedian__________
                                                      ALEXANDER N. DERGARABEDIAN
                                                      Assistant United States Attorney




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